IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF PUERTO RICO

+

ALAN GOLDMAN, CIVIL NO.: 24cv01136

Plaintiff *

*

Vv. x
*

McCONNELL VALDES, LLC; s
ANTONIO A. ARIAS-LARCADA, his wife *
MARIA BEALE, and the Conjugal *
JOHN DOE; MARY DOE *
SOMPO INTERNATIONAL INSURANCE *
COMPANY; ENDURANCE AMERICAN *
SPECIALTY INSURANCE COMPANY; *
AIG INTERNATIONAL COMPANY- *
PUERTO RICO *
*

Defendants *

/

CORRECTED VERIFIED SECOND AMENDED COMPLAINT
TO THE HONORABLE COURT:

COMES NOW, Plaintiff, Alan Goldman, by and through his undersigned
attorney, Francisco M. Lépez Romo, and respectfully States, Alleges and Prays:
JURISDICTION AND VENUE

This Court has jurisdiction over the subject matter of this action, pursuant
to 28 U.S.C. § 1332, since there is complete diversity of citizenship between the

parties and the amount in controversy exceeds the sum of $500,000, exclusive
Alan Goldman v. McConnell Valdés, LLC, et al / 24cv01136 / Corrected Verified Second Amended Complaint

of interest and costs. This Court has supplemental jurisdiction over the subject

matter of this action, pursuant to 28 U.S.C. § 1367, regarding Plaintiff Alan

Goldman’s state law claims under Articles 287, 290, 1163, 1258, 1259, 1260,

1536, 1540, and 1803 of the Puerto Rico Civil Code of 2020, and under Law 121

— 2019 “Ley de la Carta de Derechos y la Politica Publica del Gobierno a favor de

los Adultos Mayores”.

Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(a) (1)

and (2), since the events giving rise to these claims arose in this District.
THE PARTIES

1. Plaintiff, Alan Goldman (hereinafter “Mr. Goldman”) is of legal age,

single, developer, and resident of Montpelier, Vermont. Mr. Goldman’s
residential address is: 1014 Terrace St., Montpelier, VT 05602.

2. Defendant McConnell Valdés, LLC (hereinafter “McConnell Valdés”) is

a limited liability company (“LLC”) with a formation and effective date

of September 13, 2007, organized and existing under the laws of the

Commonwealth of Puerto Rico. McConnell Valdés’ registered office is:

270 Munoz Rivera Avenue, San Juan, Puerto Rico 00918, and mailing

address: PO Box 364225, San Juan, Puerto Rico 00936-4225,

page 2 of 51
Alan Goldman v. McConnell Valdés, LLC, et al / 24cv01136 / Corrected Verified Second Amended Complaint

telephone number: 787-759-9292, the authorized person is Mr. Arturo
J. Garcia Sola.

Defendant, Antonio A. Arias-Larcada (hereinafter “Mr. Arias”) is of legal
age and is an attorney at law and capital member or partner of
McConnell Valdés, LLC.

Defendant, Maria Beale (hereinafter “Mrs. Beale”) is of legal age and is
Mr. Arias’ wife. Upon information and belief, Mr. Arias and Mrs. Beale
are married to each other under the conjugal partnership laws of Puerto
Rico. If so, any income derived by Mr. Arias from his legal profession is
a conjugal asset and their conjugal partnership is liable if Mr. Arias
incurs any legal liability, resulting from the facts alleged in this case.
Mr. Arias and Mrs. Beale reside and are domiciled in Puerto Rico.
Defendants, John Doe, and Mary Doe are residents of any state other
than Vermont, who are designated with fictitious names since their true
identities are unknown. These Defendants may also be liable due to
their failure to comply with their contractual duties and obligations,
and/or for their fault and/or negligence, that resulted in the damages

suffered by Mr. Goldman. Their spouses, if any, and their conjugal

page 3 of 51
Alan Goldman v. McConnell Valdés, LLC, et al / 24cv01136 / Corrected Verified Second Amended Complaint

partnerships, if any, will be joined as party Defendants once they can
be identified.

Defendants, Sompo International and/or Endurance American
Specialty Insurance Company, are insurance companies organized
under the laws of the State of New York, with its principal place of
business at 1221 Avenue of the Americas, New York, NY 10020. During
the relevant time, Sompo International and/or Endurance American
Specialty Insurance Company issued Policy Number LXY30020811501
(Lawyers Professional Liability Insurance) to cover the damages that
were suffered by Mr. Goldman as the result of McConnell Valdés’ and
Mr. Arias’ breach of their respective contractual obligations and duties
of care, and/or as the result of McConnell Valdés’ and Mr. Arias’ joint
fault and/or vicarious negligence alleged herein.

Defendant, AIG Insurance Company-Puerto Rico, is an insurance
company organized under the laws of the Commonwealth of Puerto
Rico, with its principal place of business at 250 Munoz Rivera Avenue,
Hato Rey, Puerto Rico 00918. During the relevant time, AIG Insurance
Company-Puerto Rico issued Policy Number 015-001003116-03-

000000 (Lawyer’s Professional Liability) to cover the damages that were

page 4 of 51
10.

Alan Goldman v. McConnell Valdés, LLC, et al / 24cv01136 / Corrected Verified Second Amended Complaint
suffered by Mr. Goldman as the result of McConnell Valdés’ and Mr.
Arias’ breach of their respective contractual obligations and duties of
care, and/or as the result of McConnell Valdés’ and Mr. Arias’ joint
fault and/or vicarious negligence alleged herein.

RELEVANT FACTS
On October 23, 2020, an “Option to Purchase Agreement” was entered
into by Mr. Goldman, as “Seller”, and Mr. John Michael Grzan and Mrs.
Namrata Khimani, as “Purchaser”, for the sale and purchase of a real
estate property in Dorado, Puerto Rico.
Under “Paragraph 15. Default by Seller. Remedies, Purchaser”, the
“Option to Purchase Agreement” reads as follows:
“In the event Seller, after exercise of the Option granted herein,
fails to proceed with the closing of the sale of the real property
pursuant to the terms and provisions contained herein,
Purchaser] shall be entitled to receive back the Option Fee and
pursue any equitable remedies under the law.”
On October 23, 2020, Mr. Goldman made two mistakes: First, Mr.
Goldman agreed to sell the Property in Dorado, for $3,150,000,

although at that time, the Property’s market value was well over

$6,500,000; and second, Mr. Goldman misunderstood the meaning of

page 5 of 51
11.

12.

13.

Alan Goldman v. McConnell Valdés, LLC, et al / 24cv01136 / Corrected Verified Second Amended Complaint

the term “equitable remedies” and mistook the legal consequences of
said equitable remedies.

In a contract context, the term “mistake” refers to an error associated
with either the meaning of the words, laws, or facts within a contract.
When a mistake occurs, it causes one or both parties to enter in or to
the contract without fully understanding the outcomes. or
responsibilities implied by the contract. More specifically, a “unilateral
mistake” is the mistaken belief that is held by one of the parties and is
not shared by the other party to the contract. Simply put, a unilateral
mistake occurs when only one of the parties misinterprets the subject
matter or meaning of the words.

Since only one party holds a mistaken belief, this could give to other
party an unfair advantage in the bargaining power that they could hold
during the contract formation stage. If a contract is entered into, in or
on, the basis of a mistaken belief, it could result in a lawsuit that may
provide the mistaken party with various remedies, such as contract
rescission or contract reformation.

If a unilateral mistake is made during the contracting process, it would,

or could be, unfair if only one party understands the true meaning

page 6 of 51
14.

15.

Alan Goldman v. McConnell Valdés, LLC, et al / 24cv01136 / Corrected Verified Second Amended Complaint

implied by the contract while the other party does not. A court may
issue one of the following remedies in order to correct the unilateral
mistake: contract rescission that completely cancels the contract and
the parties are restored to the same position they were in before the
contract was formed; or, alternatively, contract reformation, when the
written agreement is changed in order to reflect the parties’ original
understanding of the terms of the contract. Usually, this remedy may
be granted for unilateral mistakes only in cases where the non-
mistaken party was unaware that the other party was mistaken.
During contract negotiations, the parties should review the contract
thoroughly, and clarify each other’s interpretations of each clause that
is included in the contract. Working with lawyers during the contract
formation stage can help the parties to avoid making mistakes and
would help to avoid any future contract disputes. That did not happen
in this case.

Article 287 of the Puerto Rico Civil Code of 2020 defines the
requirements for an error to vitiate the party’s willingness. Article 290
of the Puerto Rico Civil Code of 2020 defines what should happen if the

one contracting party makes any computation errors.

page 7 of 51
16.

17.

18.

19.

Alan Goldman v. McConnell Valdés, LLC, et al / 24cv01136 / Corrected Verified Second Amended Complaint

In the case of the Option to Purchase Agreement referred to herein-
above, the main controversies were: (1) what was the fair market value
of the real estate property that was optioned by the parties; and (2) if
there was a unilateral mistake, what were the legal consequences under
Clause 15 of the contract; and (3) if one party, the Seller, had made a
colossal mistake, and whether that error or mistake resulted in Buyer’s
unjust enrichment.

Litigation initiated by Buyer ensued, since Mr. Goldman did not execute
the deed of sale. On December 24, 2020, Mr. Grzan’s and Mrs.
Khinami’s designated assignee, Teal Peak Capital, LLC, filed Teal Peak

Capital, LLC, Plaintiff, vs. Alan Bram Goldman, Defendant, Civil No.

3:20-cv-1747, in the U.S. District Court for the District of Puerto Rico.
On January 13, 2021, Mr. Goldman retained the services of McConnell
Valdés, to represent Mr. Goldman in said civil case. McConnell Valdés’
law firm’s Capital Member, Mr. Arias, became Mr. Goldman’s lead
counsel.

Since the beginning of their relationship, McConnell Valdés, through
its agent and capital partner, Mr. Arias, convinced Mr. Goldman that

Mr. Goldman had nothing to worry about said case. Mr. Goldman was

page 8 of 51
20.

21.

Alan Goldman v. McConnell Valdés, LLC, et al / 24cv01136 / Corrected Verified Second Amended Complaint

told that he had not incurred in any mistake by using the term
“equitable remedies” that was inserted by him in the final draft of the
Option to Purchase Agreement; and that the trial court would never
enter any Order, ordering any specific performance against Mr.
Goldman.

McConnell Valdés, through its agent and capital partner, Mr. Arias,
reiterated in writing that same legal opinion, that their understanding
of the applicable law was that the term “specific performance” is not an
“equitable remedy” under Puerto Rico’s laws. In fact, the documents
quoted herein-below, were electronically transmitted by Mr. Arias,
specifically, to confirm that McConnell Valdés, and Mr. Arias were
instructing their client, Mr. Goldman, to aggressively litigate that case,
under such legal theory, which proved to be, not only inadequate, but
completely wrong as a matter of law.

As the result of said litigation, Mr. Goldman made several payments for
McConnell Valdés’ and Mr. Arias’ legal fees in the total sum of
$195,893.90. McConnell Valdés is still attempting to collect an
additional sum of $53,000. These legal fees were incurred by Mr.

Goldman, while acting under the erroneous legal advice that Buyer,

page 9 of 51
Alan Goldman v. McConnell Valdés, LLC, et al / 24cv01136 / Corrected Verified Second Amended Complaint

Teal Peak Capital, LLC, would not be able to prevail in that lawsuit,
since the trial court would certainly rule that “specific performance”
was not an “equitable remedy”.

. On June 8, 2021, Mr. Arias sent an email transmission to Mr. Goldman,
that in its pertinent part, reads as follows:

“Team: Patricia and I just briefed Mr. Goldman on the defense
strategy moving forward mainly supported by careful review
of both the option agreement and the draft escrow agreement
attempting to contain the Kleis lawsuit from precluding the
closing.

As per the pleadings and the oral presentation given to the court
at last week’s status conference the plaintiff Teal Peak sued
because it allegedly validly exercised its right to purchase under
the option agreement, the case was ready to close but the seller
refused to close and therefore it seeks specific performance. As
per the amended complaint Teal Peak in addition to specific
performance seeks damages based on its speculation that had
it purchased the property in December 2020 it would have been
ready to be exploited as a rental property by April 2021 for at
least $35,000 a month or sold for over $8,000,000.

On Thursday June 3rd we offered counsel for Teal Peak the
return of the $800,000 deposit plus reimbursement of all true
out of pocket expenses to make Teal Peak whole and part ways.
On Monday June 7th, 2021, opposing counsel informed that his
client rejected the offer but made no counteroffer. He did point
out without any further discussion that his client wants the

property.

Moving forward our litigation defense and counterclaim will be
based on the following talking points:

First, the case was not ready for closing in December 2020.

page 10 of 51
Alan Goldman v. McConnell Valdés, LLC, et al / 24cv01136 / Corrected Verified Second Amended Complaint

Second, Mr. Goldman was not at fault for the case not being ready
for closing in December.

Third, Mr. Goldman could not deliver clean title because real
estate broker Kleis filed a bogus lawsuit for an unearned
commission and registered a Lis Pendens lien on the property.

Fourth, even if Mr. Goldman could deliver clean title by the
closing, he had been deceived by the buyer through dolus
vitiating the option agreement.

Fifth, even if the buyer where to show by a preponderance of
the evidence that the case was ready to close and it was the
seller’s fault, the only remedy it is entitled under the option
agreement is the return of the deposit AND (not “or”) any
other equitable remedies under the law. That is not specific
performance. Specific performance is not a remedy available
to the buyer. End of discussion.

Furthermore, even if there was seller liability, which we
dispute, all damages claims are not only illegal, they are all
pure speculation.

The talking points are supported by the evidence in the case:

First, page 3 of the option agreement negotiated by the
parties does not afford the buyer the contractual right to
seek specific performance if the seller refuses to sell. The
lawsuit has been filed under the illegal premise that the
buyer can compel the seller to close on the sale. Buyer is
wrong, seller can walk away and he need only return the cash
deposit and pay real expenses. Patricia has ordered a legal
research on how the courts have considered “other equitable
remedies” to confirm reimbursement of expenses in addition to
the returned deposit satisfies the legal threshold.

Thus, in view of the above the case should develop as follows:

1. Mr. Goldman will answer the amended complaint making
ageressive use of the talking points by June 11th.

page 11 of 51
Alan Goldman v. McConnell Valdés, LLC, et al / 24cv01136 / Corrected Verified Second Amended Complaint

2. Send the process server to Dorado Beach immediately.

3. Mr. Goldman will consign in court the $800,000 deposit in
compliance with the letter of the option agreement.

4. We can petition the court for immediate mediation to
settle the remainder of what the buyer is entitled to which
is “equitable remedies” in our view, reimbursement of their
out-of-pocket expenses and attorney’s fees.

D. Should mediation fail, at the earliest available opportunity Mr.
Goldman shall file a motion for summary judgment since the only
remaining issue to be decided by the court is a legal issue which
need not go to a jury.” Please see, Exhibit 1.

23. On February 21, 2022, Mr. Arias sent another email transmission to
Mr. Goldman, that in its pertinent part reads as follows:

“The judge opened by indicating that he had reviewed all the legal
briefs and had also done additional research on the issues... The
judge then turned to me and I took my time to argue why there
was no likelihood for the plaintiffs to prevail on the merits
of the case due to the three pillars of our case. First, the
contract clearly and with specificity reads in the default
clause that the buyer shall the entitled to the return of the
security deposit and any other equitable remedies. If the
security deposit is returned the vague and not specific
additional remedies can only involve some additional
monetary compensation for lost interest or inconvenience
but not specific performance. Given that the defendant had
already returned the security deposit which is held by the court
in escrow the case is mostly moot. I stressed to the court that
the seller did no [sic] draft the option agreement and was not
represented by counsel and would have never agreed to
specific performance upon his default...” See, Exhibit 2.

24. Relying on Mr. Arias’ wrong advice and incorrect assurances, that Mr.

Goldman could not be ordered by the trial court to sign any deed of
page 12 of 51
Alan Goldman v. McConnell Valdés, LLC, et al / 24cv01136 / Corrected Verified Second Amended Complaint
purchase and sale of the property, Mr. Goldman retained the services of
third parties to make significant repairs and improvements in the property,
disregarding the fact the property was optioned to Buyer in “As Is”.

. These additional repair and maintenance expenses were incurred by Mr.
Goldman, while fully relying on Mr. Arias’ representations and promises.
The expenses incurred were in the sum of $212,900.

. On March 24th, 2022, the Honorable Judge Delgado-Hernandez, USDC-

PR entered the “Memorandum and Order’ in the case of Teal Peak Capital,

LLC, Plaintiff v. Alan Bram Goldman, Defendant, Case No.: 20-1747 (PAD)

that in its pertinent part reads as follows:

“This is a_breach-of-contract action... deceit or dolus...
defendant’s motion must be denied. As discussed below,
plaintiff is entitled to the remedies identified in Clause 15 of
the contract. This includes recovery of the Option Fee and
specific performance...And here, there is an agreement that
explicitly identifies what plaintiff shall be entitled to in case of the
seller’s default. This type of clause is known as a penal clause.
Their two most important functions are to guarantee the
performance of the obligation and to evaluate in advance the
damages...As to damages, the penal clause “substitute[s]
indemnity for damages and the payment of interest... “eliminates
all controversy”... the amount to be paid in damages...And that
is what plaintiff bargained for, limiting the amount it could
recover...The concept of specific performance shares
consanguinity with the permanent injunction, itself _a
creature of equity. Sce, Axia Netmedia Corporation v.
Massachusetts Technology Park, 889 F.3d 1, 8 (list Cir.
2018)(equating permanent injunction with order granting
request for specific performance); McDonald’s Corp. v. Lebow
Realty Tr., 888 F.2d 912, 913 (lst Cir. 1989)(request for
permanent injunction ordering specific performance of
option agreement); Bolin Farms v. American Cotton Ass’n, 370

page 13 of 51
27.

28.

Alan Goldman v. McConnell Valdés, LLC, et al / 24cv01136 / Corrected Verified Second Amended Complaint

F.Supp. 1353, 1369 (W.D. La. 1974)(noting that no bond can
be required where specific performance has been ordered in
the form of a permanent injunction).

That is why, as the Puerto Rico Supreme Court observed, “/a]n
injunction to restrain a breach of a contract often operates
to_ all intents and purposes as a decree for its specific
performance.” San Juan Racing & Sporting Club v. Foote, 31
P.R.R. 154, 158 (1922).... And as such, it may be enforced by
way of a permanent injunction mandating specific
performance. See, In Re: Medical Educational and Health
Services, Inc., 2015 WL 903346, **1, 4-5 (Bkcy. D.P.R. Feb, 27,
2015) (application for permanent injunction evaluated as one
for specific performance and damages under Article 1077 of
the Puerto Rico Civil Code)...The debtor bears the burden of
demonstrating lack of proportion between the breach and the
penalty to justify the court’s intervention...Still, defendant has
challenged the principal obligation as being null and void. And
that matter will be decided at trial.” Please see, Exhibit 3.

McConnell Valdés and Mr. Arias, never provided to Mr. Goldman any copy
of Judge Delgado-Hernandez’ adverse ruling in the “Memorandum and
Order” dated March 24, 2022.

On October 31, 2022, the Joint Proposed Pre-Trial Order was filed in Civil
Case No. 3:20-civ-1747. Although Mr. Goldman’s counsel acknowledged
that “Mr. Goldman is not a lawyer and understood that the language and
intent behind Clause 15 was for Mr. Goldman to have the right to retain
the Property and opt out of the Option Agreement, -for whatever reason-
before or after the option was exercised by the purchaser- by returning the

”?

Option Fee and paying any additional costs...”, no efforts were made by

page 14 of 51
29.

30.

Alan Goldman v. McConnell Valdés, LLC, et al / 24cv01136 / Corrected Verified Second Amended Complaint

Mr. Goldman’s counsel to amend Mr. Goldman’s previous pleadings as to
try to protect his legal rights under the relevant Articles of the Puerto Rico
Civil Code of 1930 and 2020.

On October 31, 2022, while the Buyer alleged damages that were being
estimated to be in the sum of $8,160,000, for loss of rental income of
$35,000 per month, Mr. Goldman’s counsel alleged in the Joint Pre-Trial
Proposed Order, that another neighbor, “Mr. Long then purchased the
property next door for $2,500,000. Within a year, Mr. Long flipped the
property and sold it to another purchaser for $10,500,000 for a multi-
million dollars profit.” Although Mr. Goldman’s counsels were aware of
such real estate prices in the same neighborhood in Dorado, Puerto Rico,
Defendants failed to seek any legal remedies that were available under
Articles 287, 290 of the Civil Code of Puerto Rico of 2020, or if applicable,
under the previous Civil Code of Puerto Rico of 1930.

In addition, Mr. Goldman’s various medical conditions were alluded to, but
no reference was made to Mr. Goldman’s possible declined mental abilities,
or to his possible mental state of confusion. No treating physicians were
included in the witnesses’ list, no medical experts were announced, and

no medical records were marked as exhibits or as identifications.

page 15 of 51
31.

32.

33.

34.

35.

36.

Alan Goldman v. McConnell Valdés, LLC, et al / 24cv01136 / Corrected Verified Second Amended Complaint

As of March 26, 2023, Mr. Goldman was completely unaware about these
errors and omissions.

Up until March 26, 2023, Mr. Goldman had fully relied on McConnell
Valdés and Mr. Arias’ legal advice and verbal and written representations.

Said reliance, that was based on trust, ended on March 26, 2023. On said

date, Mr. Goldman requested his counsels’ withdrawal from said case.

The next day, on March 27, 2023. McConnell Valdés and Mr. Arias filed

their motion to withdraw as Mr. Goldman’s counsel of record.

On April 5, 2023, attorney Edgardo Cartagena sent an email

transmission to Mr. Goldman, that reads as follows:
“Hi Alan. Did Arias send you copy of this Opinion and Order,
issued by the prior judge on March 22, 2022? We just found it
during our search. Edgardo Cartagena”
Attorney Edgardo Cartagena attached with this email the
Memorandum and Order entered by Honorable Pedro Delgado
Hernandez, United States District Judge. Please see, Exhibit 4.

On April 5, 2023, Mr. Goldman was made aware about Judge Delgado-

Hernandez’ Memorandum and Order, entered on March 24th, 2022.

On October 5, 2023, Mr. Arias sent an email to Mr. Goldman that reads

as follows:

“Greetings Mark and Alan: We have not been able to locate an
email attaching the March 24%, 2022, order denying the motion

page 16 of 51
37.

38.

39.

40.

41.

42.

Alan Goldman v. McConnell Valdés, LLC, et al / 24cv01136 / Corrected Verified Second Amended Complaint

to dismiss. However, as I stated during our call, this was
discussed with Alan during my frequent and extended telephone
conferences with him. Kindly let me know when you are available
to continue our call and conclude our discussion. Antonio A.
Arias, Capital Member”. Please see Exhibit 5.

COUNT I - UNJUST ENRICHMENT
(AS TO MCCONNELL VALDES AND MR. ARIAS)

Mr. Goldman re-alleges the allegations in paragraphs 1 through 36,
and any subsequent allegations, as if fully stated herein.

Mr. Goldman employed McConnell Valdés as his legal counsel.
McConnell Valdés LLC has several lawyers that are duly admitted to
practice law in Puerto Rico.

Mr. Arias is a well-known, practicing lawyer, admitted to practice law
in Puerto Rico, and he acted on behalf of McConnell Valdés.
McConnell Valdés and Mr. Arias owed to Mr. Goldman their contractual
duty of due care and were expected to provide competent legal
representation to their clients, at a reasonable cost.

Attorneys are prevented from assuming positions that may violate their
professional duties or to cause any unjust enrichment, to or for the
benefit of the attorneys or their employers, such as causing or

provoking any unnecessary legal or litigation expenses.

page 17 of 51
43.

44.

45.

46.

Alan Goldman v. McConnell Valdés, LLC, et al / 24cv01136 / Corrected Verified Second Amended Complaint

McConnell Valdés and Mr. Arias breached their duty, by providing
incorrect, wrong, or wrongful legal advice, that led to unnecessary legal
fees, costs, and expenses.

McConnell Valdés and Mr. Arias. wrongfully led their client, Mr.
Goldman, to unnecessarily pay their law firm the sum of One Hundred
Ninety-Five Thousand Eight Hundred Ninety-Three Dollars with Ninety
Cents ($195,893.90) for unnecessary legal fees and expenses.
McConnell Valdés is demanding an additional payment of $53,000.

A Puerto Rico claim for unjust enrichment consists of five elements: (1)
existence of enrichment; (2) a correlative loss; (3) nexus between loss
and enrichment; (4) lack of cause for enrichment; and (5) absence of a
legal precept excluding application of enrichment without cause. See,

Dantzler, Inc. v. Puerto Rico Ports Auth., 335 F. Supp. 3d 226, 254 (D.P.R.

2018); Montalvo v. LT’s Benjamin Records, Inc., 56 F. Supp 3d 121, 136

(D.P.R. 2014).

In this case, McConnell Valdés and Mr. Arias unjustly enriched
themselves by misappropriating the sum of $195,893.90 from Mr.
Goldman. There is no basis in law or fact to exclude application of the

unjust enrichment doctrine in this case.

page 18 of 51
47.

48.

49.

50.

51.

Alan Goldman v. McConnell Valdés, LLC, et al / 24cv01136 / Corrected Verified Second Amended Complaint

McConnell Valdés’ and Mr. Arias’ unjust enrichment was at the expense
of Mr. Goldman.

McConnell Valdés’ and Mr. Arias’ actions or omissions were the
proximate cause of Mr. Goldman’s monetary losses.

In good conscience and equity, McConnell Valdés and Mr. Arias must
fully, or in the alternative, must partially restitute these sums of monies
that are being claimed herein to Mr. Goldman.

During the relevant time, Mr. Goldman mentioned to his lawyers from
McConnell Valdés, including Mr. Arias, that Mr. Goldman may be
suffering some diminished mental capacity, due to Mr. Goldman’s
repeated transient ischemic attacks (“TIA”), seizures and health
conditions, that may have caused Mr. Goldman to be confused,
disoriented and with limited cognizant capability.

Although McConnell Valdes’ lawyers, including Mr. Arias, were
informed that Mr. Goldman’s ability to make some intelligent decisions
may actually be compromised, McConnell Valdés’ lawyer, Mr. Arias did
not make any efforts to obtain or to review Mr. Goldman’s medical

records, including any Mr. Goldman’s psychiatric evaluations.

page 19 of 51
52.

53.

54.

55.

Alan Goldman v. McConnell Valdés, LLC, et al / 24cv01136 / Corrected Verified Second Amended Complaint
McConnell Valdés and Mr. Arias limited themselves to allege “... Mr.
Goldman’s status as a senior citizen, recovering cancer survivor with
underlying medical conditions...”

On the other hand, Mr. Goldman’s attorneys included averments, such
as “... Mr. Goldman vehemently defends his position that he acted
professionally and was willing to close within the exercise period...”
Said allegation would contradict Mr. Goldman’s concerns about his
own mental state at the time that Mr. Goldman had agreed to sell his
property for a ridiculous, extremely low price of $3,150,000, although
everyone knew, or should have known, that purchase price was less
than one half (50%) the then current market value of the Property.

By mistake, Mr. Goldman “agreed” to sell the property for $3,150,000.
McConnell, and Mr. Arias acknowledged that “By manipulating the
competing offers TPC pressured Mr. Goldman to sell below the market
price in Dorado Beach.” “Based on current real estate market in Dorado
Beach and the specific location of Mr. Goldman’s Property, which is
above eighty-five (85) foot contour of the exclusive and original Dorado
Beach Estate, Mr. Goldman estimates that had he closed caving under
the pressure of TPC he would have failed to realize in excess of

$3,000,000 in the sale”. Please, see in Case No. 3:20-civ-01747,

page 20 of 51
Alan Goldman v. McConnell Valdés, LLC, et al / 24cv01136 / Corrected Verified Second Amended Complaint
“Defendant’s Answer to Complaint and Counterclaim”, at page 13, par.
30, 32, Document 18, of April 7, 2021.

56. McConnell Valdés and Mr. Arias’ willingness to completely disregard
such relevant, important evidence, not only about their own client’s
potential diminished mental capacity, but of the Property’s fair market
value, should be appalling. Their indifference, their unconcerned
conduct, constituted legal malpractice, particularly, in view of Mr.
Goldman’s eventual inability to amend his previous “Answer to the
Amended Complaint” or the parties’ “Joint Pre-Trial Conference Order”,
at the time that Mr. Goldman was finally able to retain new legal
counsel.

57. All conditions precedent to the filing of this action have been complied
with, waived, excused, or otherwise were met by Mr. Goldman.

58. Mr. Goldman has retained Francisco M. L6pez-Romo, Esq. to bring this
action and has agreed to pay his law firm reasonable attorneys’ fees for
services rendered.

WHEREFORE, Mr. Goldman demands judgment in his favor and against
McConnell Valdés, Mr. Arias and Mrs. Beale and their conjugal partnership,
ordering reimbursement of the total amounts of monies that Defendants
unjustly received or constituted an unjust enrichment, or in the alternative,

page 21 of 51
Alan Goldman v. McConnell Valdés, LLC, et al / 24cv01136 / Corrected Verified Second Amended Complaint

such partial reimbursement as the jury verdict, or the trial court may award,
as to cure or correct such unjust enrichment; and to indemnify Mr. Goldman
for his economic and financial damages, with interest, costs, and such other
relief this Court deems just and proper.

COUNT II - BREACH OF CONTRACT-LEGAL MALPRACTICE
(AS TO MCCONNELL VALDES, LLC AND MR. ARIAS)

59. Mr. Goldman re-alleges the allegations made in paragraphs 1 through
58, and any subsequent allegations, as if fully stated herein.

60. Mr. Goldman employed McConnell Valdés as his legal counsel.

61. McConnell Valdés is composed by several lawyers who are duly
admitted to practice law in Puerto Rico.

62. Mr. Arias is a well-known lawyer who is admitted to practice law in
Puerto Rico.

63. McConnell Valdés and Mr. Arias owed to Mr. Goldman their duty to
practice law in a reasonable, professional manner, and to provide their
competent legal advice.

64. McConnell Valdés and Mr. Arias breached their contractual obligations

to display the competence and proficiency that were expected from

page 22 of 51
65.

66.

67.

68.

69.

Alan Goldman v. McConnell Valdés, LLC, et al / 24cv01136 / Corrected Verified Second Amended Complaint

them, and they breached the contractual duty they owed to Mr.
Goldman as his legal counsel as described herein-above.

Their inadequate gathering of the essential information, their failure to
perform reasonable legal research, their failure to take into
consideration the applicable statutes and case law, led these
Defendants to incur in legal malpractice.

Any competent lawyer would have provided to Mr. Goldman, very
different legal advice in said case.

Any competent lawyer would have advised Mr. Goldman to assert his
defenses based on his actual mistake of fact as to what should have
been the Property’s reasonable sales price.

Mr. Goldman had repeatedly verbalized to anyone who would have
cared to listen, that Mr. Goldman believed that “equitable remedies”
would never entail “specific performance”.

If Mr. Goldman would have known that Mr. Goldman could be ordered
to sell his real estate property due to the language that was included in
Clause 15 of the “Option to Purchase Agreement”, Mr. Goldman would

have never signed said “Option to Purchase Agreement”.

page 23 of 51
70.

71.

72.

73.

74.

Alan Goldman v. McConnell Valdés, LLC, et al / 24cv01136 / Corrected Verified Second Amended Complaint

McConnell Valdés’ and Mr. Arias’ incorrect, wrong, or wrongful advice,
constituted breach of their contractual obligations, under their contract
for professional services, and is now the reason why Defendants are
jointly liable for the damages sought by Mr. Goldman.

Mr. Goldman not only did not obtain any relief for or from Mr.
Goldman’s unilateral mistake about the fair market value of his
property, but also, for Mr. Goldman’s second mistake, that was
incurred when Mr. Goldman contractually agreed to be liable for any
“equitable remedies.”

Mr. Goldman ended up spending over $188,000, without obtaining any
relief.

Acting upon Mr. Arias’ bad advice, Mr. Goldman also ended up
spending $212,900 in totally unnecessary repairs and maintenance
expenses.

McConnell Valdés’ and Mr. Arias’ fault and/or negligence, were
incurred while Defendants were attempting to comply with their
contractual obligations. Defendants’ failure to provide adequate,
competent legal services resulted in Mr. Goldman suffering additional

economic and emotional damages, which, but for their own lack of

page 24 of 51
75.

76.

77.

78.

79.

Alan Goldman v. McConnell Valdés, LLC, et al / 24cv01136 / Corrected Verified Second Amended Complaint

proficiency and/or their combined negligence, Mr. Goldman would not
have suffered.

At the time Mr. Goldman made his mistake by agreeing to sell his
property for the reduced purchase price of $3,150,000, this property
was worth well over $6,500,000.

McConnell and Mr. Arias did not advise Mr. Goldman about the legal
remedies that were available to him under Articles 1258, 1259, 1260 of
the Civil Code of Puerto Rico of 2020.

McConnell Valdés and Mr. Arias failed to seek adequate legal relief for
their client, Mr. Goldman, such as rescission of the contract, or revision
of the sales price that had been agreed upon in the contract, by
requesting the trial court to provide an upward adjustment of the final
purchase price.

It was obvious, or should have been obvious, that the Buyer was
obtaining a huge, disproportionate financial advantage, by forcing
Seller to transfer an asset that was worth more than twice as much,
and probably three times as much, as the sales price that was agreed
upon in the “Option to Purchase Agreement”.

Mr. Goldman was not adequately advised by Mr. Arias. McConnell
Valdés failed to alert Mr. Goldman about these legal remedies.

McConnell Valdés and its lawyers failed to protect their client, Mr.

page 25 of 51
80.

81.

82.

83.

Alan Goldman v. McConnell Valdés, LLC, et al / 24cv01136 / Corrected Verified Second Amended Complaint
Goldman, by including these same allegations and by seeking these
same legal remedies in the pleadings that they filed on behalf of Mr.
Goldman.

Mr. Goldman’s answer to the complaint, and Mr. Goldman’s answer to
the amended complaint were filed in Civil Case Number 3:20-civ-1747.
In their Joint Proposed Pretrial Order, Document 136, of Civil Case
Number 3:20-civ-1747, McConnell Valdés and Mr. Arias made
references to Mr. Goldman’s various medical conditions, such as
seizures, PTSD. Yet, no treating physicians or any expert in the medical
field were announced as Mr. Goldman’s witnesses. No reference was
made to Mr. Goldman’s advanced age or to Puerto Rico’s statutes
addressing the need to protect our senior citizens.

McConnell Valdés and Mr. Arias made allegations that Mr. Goldman’s
previous lawyers, Ferraiuoli, LLC, had “acquired inside information
regarding the Property, such as its market value.” Yet, no expert
witnesses were called to prove the property’s market value at the time
that the Option to Purchase Agreement was signed.

These acts or omissions constitute legal malpractice. Mr. Arias and

McConnell Valdés are liable for the adverse consequences that resulted

from said errors or omissions.

page 26 of 51
84.

85.

86.

87.

Alan Goldman v. McConnell Valdés, LLC, et al / 24cv01136 / Corrected Verified Second Amended Complaint
Mr. Goldman’s new lawyers were impeded from revisiting these
defenses and legal explanations, as to obtain any legal remedy that
would otherwise may have been available to Mr. Goldman under the
law.

At the time that Mr. Goldman realized that Mr. Goldman had made a
mistake by accepting to sell his property for the reduced purchase price
of $3,150,000, his property was well over $6,500,000, and Articles
1258, 1259, 1260 the Civil Code of Puerto Rico of 2020, were already
applicable to this case.

Mr. Arias and McConnell Valdés failed to seek any legal relief for their
client, Mr. Goldman under Articles 1258, 1259, 1260 the Civil Code of
Puerto Rico of 2020, such as rescission of the contract, or revision of
the term, that is, for the sale price that had been agreed to in the
contract, by requesting judicial relief, such as the upward adjustment
of the purchase price.

In the Joint Proposed Pretrial Order, that was filed as docket entry 136
in Civil Case Number 3:20-civ-1747, Mr. Arias and McConnell Valdés
referred to Mr. Goldman’s various medical conditions, such as seizures,
PTSD. Yet, no treating physicians or any expert in the medical field were

announced as Mr. Goldman’s witnesses.

page 27 of 51
Alan Goldman v. McConnell Valdés, LLC, et al / 24cv01136 / Corrected Verified Second Amended Complaint

ss. Mr. Goldman has retained Francisco M. Lépez-Romo, Esq. to bring this
action and has agreed to pay his law firm reasonable attorneys’ fees for
services rendered.

WHEREFORE, Mr. Goldman demands judgment in his favor and against Mr.
Arias, Mrs. Beale and their conjugal partnership, McConnell Valdés, and Sompo
International and/or Endurance American Specialty Insurance Company and/or
Defendant, AIG Insurance Company-Puerto Rico, to cover the damages that were
suffered by Mr. Goldman as the result of McConnell Valdés’ and Mr. Arias’ breach
of their respective contractual obligations and duties of care, and/or as the result
of McConnell Valdés’ and Mr. Arias’ joint fault and/or vicarious negligence and
for the financial damages suffered by Mr. Goldman, as well as for Mr. Goldman’s
emotional damages and distress, with interest, costs, and such other relief this
Court deems just and proper.

COUNT III - TORTS RESULTING FROM EXTRACONTRACTUAL
FAULT /NEGLIGENCE

s9. Mr. Goldman re-alleges the allegations made in paragraphs 1 through

88, and any subsequent allegations, as if fully stated herein.

page 28 of 51
90.

91.

92.

93.

Alan Goldman v. McConnell Valdés, LLC, et al / 24cv01136 / Corrected Verified Second Amended Complaint

Mr. Arias and McConnell Valdés are liable for their joint negligence, as

would be the case in any ordinary torts case. All that it is required is

that Mr. Goldman establishes:

(1) the existence of the damage; and

(2) that the professional service provider did not act pursuant to the
minimum standard of care required, in this case, to the legal
profession, and

(3) that causal relationship exists between the damage and the act or

the omission of the lawyer. Santiago Otero v. Méndez, 94 JTS 38. See

also, Rodriquez Crespo v. Hernandez, 121 D.P.R. 639(1988); Medina

Santiago v. Vélez, 120 D.P.R. 380, 385(1988).

The breach of this duty was the proximate cause for Mr. Goldman’s
damages. Mr. Arias’ and McConnell Valdés’ acts and/or omissions
were the proximate cause for the damage suffered by Mr. Goldman.
The inadequate gathering of essential information, and their failure to
study applicable law would have led them, as to any other competent
lawyer, to provide adequate legal advice to their client, Mr. Goldman.
That failure generated Mr. Arias’ and McConnell Valdés’ incorrect,

wrong, or wrongful legal advice, and was the cause why Mr. Arias and

page 29 of 51
94.

95.

96.

97.

Alan Goldman v. McConnell Valdés, LLC, et al / 24cv01136 / Corrected Verified Second Amended Complaint

McConnell Valdés incurred in their respective legal liability for the
damages sought by Mr. Goldman.

Mr. Goldman not only did not obtain any relief for his unilateral
mistakes as to the sales price and when he agreed to be liable for any
“equitable remedies.” Mr. Goldman ended up spending hundreds of
thousands of dollars in unnecessary legal fees and ended up losing his
property too.

Mr. Arias should not have relied on his own totally incorrect legal
opinion about the applicable law in said previous action. This breach
of legal duty of care by Mr. Arias was the direct cause of Mr. Goldman’s
additional resulting financial or economic, and mental damages.
Lawyers and law firms owe to their clients the duty of care required of

any reasonable and prudent person. Marquez Vega v. Martinez Rosado,

116 D.P.R. 397, 404-406 (1985). The breach of this duty by Mr. Arias
and McConnell Valdés was the adequate and/or proximate cause for

Mr. Goldman’s economic losses and mental pain and suffering.

In Cabrera _v. Asoc. De Serioras Damas, 96 D.P.R. 775 (1968), the
Supreme Court of Puerto Rico held that the hospital was liable in a tort

action, when its employees made worse a condition in a patient’s eye.

page 30 of 51
Alan Goldman v. McConnell Valdés, LLC, et al / 24cv01136 / Corrected Verified Second Amended Complaint

This same doctrine is applicable to any professional service provider.
To wit, do not cause any damage to your client.

98. By having provided totally wrong, or wrongful legal advice, Mr. Arias
and McConnell Valdés breached this legal duty.

99. The ensuing unnecessary litigation was the direct cause for Mr.
Goldman’s having to pay McConnell Valdés and later, to another law
firm that came to his rescue, hundreds of thousands of dollars in
additional fees and expenses. The law firm of Morell, Cartagena,
Dapena were paid $153,000 by Mr. Goldman, so that said law firm
could extract Mr. Goldman from the mess Mr. Goldman was in said
litigation.

100.It is not necessary that a lawyer makes the determination of
recommending any particular advice with mathematical certainty. All
that you need is not to provide unfounded “legal” advice, that will cause
more damage to any of your clients.

101.Lawyers have the duty of care and must take the foreseeable measures
that a prudent and reasonable man would display under the
circumstances that surround the legal situation that his/her client

confronts.

page 31 of 51
Alan Goldman v. McConnell Valdés, LLC, et al / 24cv01136 / Corrected Verified Second Amended Complaint

102.To determine the amount of attention and care that is being required,
the legal professional needs to be aware of the general practice of the
legal profession that is recognized by the legal profession. Similar duties
have been imposed to the medical profession, For example, Crespo v.

H.R. Psychiatric Hosp., Inc., 114 D.P.R. 796, 800 (1983); Hernandez v.

La Capital, 81 D.P.R. 1031, 1037-1038.; Soc. De Gananciales, Etc. v.

Presbyterian Hospital, 88 D.P.R. 391, 399 (1963); Lépez v. Hosp.

Presbiteriano, Inc., 107 D.P.R. 197, 213(1978) y Oliveros v. Abreu, 101

D.P.R. 209 (1973).

103.In Nufiez vs. Cintrén, 115 D.P.R. 598,611 (1984), the Supreme Court of

Puerto Rico held that the duty of the hospitals and doctors is to offer to
their patients the attention that satisfies the generally recognized
requirements by the medical profession at the light of the modern of

communication and teachings. Cruz v. Centeno Médico de P.R., 113

D.P.R. 719 (1983); Neqrén v. Municipality de San Juan, 107 D.P.R. 375

(1978); Lopez v. Hosp. Presbiteriano, Inc., 107 D.P.R. 197 (1978).

104.The breach of that duty by the personnel of the hospital brings liability

to the hospitals. Marquez Alfonso v. F.S.E., 105 D.P.R. 322, 328 (1976).

The breach of this legal duty is the cause of Plaintiff's damages.

page 32 of 51
Alan Goldman v. McConnell Valdés, LLC, et al / 24cv01136 / Corrected Verified Second Amended Complaint

105.In the case of Sandra Rolén-Alvarado, Plaintiff-Appellant v. Municipality

of San Juan, 1 F.3d 74, the Court held that: “The substantive law of

Puerto Rico controls in this diversity suit. To establish a prima facie
case of medical malpractice under that law, a plaintiff must adduce
evidence showing at least three separate things: (1) the duty owed,
expressed as the minimum standard of professional knowledge and
skill required under the circumstances then obtaining; (2) a breach of
that duty attributable to the defendant; and (3) a sufficient causal
nexus between the breach and the plaintiff's claimed injury. See, Sierra

Pérez v. United States, 779 F. Supp. 637, 643 (D.P.R.1991); Crespo v.

Hernandez, 121 P.R. Dec. 639, 650 (1988); Medina Santiago v. Vélez,

120 P.R. Dec. 380, 385 (1988).” “In 1973, Puerto Rico jettisoned the so-
called "locality" or "community standard" rule in favor of a more
universal, less parochial approach to establishing the standard of
acceptable care for purposes of a medical malpractice suit. See

Valendon Martinez v. Hospital Presbiteriano, 806 F.2d 1128, 1135-36

(1st Cir. 1986) (discussing effect of Oliveros v. Abreu, 101 P.R. Dec. 209

(1973)). Today, a physician is expected to possess, and use, that level
of knowledge and skill prevalent in his or her specialty generally, not
simply the knowledge and skill commonly displayed in the community

or immediate geographic region where the treatment is administered.

page 33 of 51
Alan Goldman v. McConnell Valdés, LLC, et al / 24cv01136 / Corrected Verified Second Amended Complaint
See Oliveros, 101 P.R. Dec. at 223, 226-27, translated in 1 P.R. Sup. Ct.
Off! Translations 293, at 303, 313. In other words, a health-care
provider has a duty to use the same degree of expertise as could
reasonably be expected of a typically competent practitioner in the
identical specialty under the same or similar circumstances, regardless
of regional variations in professional acumen or level of care.” “We have
no doubt that Puerto Rico would follow this rule; indeed, in what
amounts to a variation on the same theme, the Puerto Rico Supreme
Court has held that even an acknowledged error in medical judgment
cannot support a malpractice claim so long as the mistake is
reasonable. See Oliveros, 1 P.R. Sup. Ct. Off! Translations at 314; see

also Suarez Matos v. Ashford Presbyterian Community Hosp., 4 F.3d 47,

50 (1st Cir. 1993) (suggesting that, in Puerto Rico, a mistake in diagnosis

will not necessarily constitute malpractice); Del Valle Rivera, 630 F.

Supp. at 756 (stating that, under Puerto Rico's jurisprudence, a plaintiff
who charges a physician with malpractice must establish that the
defendant's fault "is more than a mere hindsight possibility"). In sum,
tort law neither holds a doctor to a standard of perfection nor makes
him an insurer of his patient's well-being. Professional standards
require normative judgments, not merely proof that a better way to treat

a particular patient could have been devised.”

page 34 of 51
Alan Goldman v. McConnell Valdés, LLC, et al / 24cv01136 / Corrected Verified Second Amended Complaint

106.Plaintiff, Goldman alleges that lawyers are subjected to the same
professional standards.
107.All conditions precedent to the filing of this action have been complied
with, waived, excused, or otherwise met by Mr. Goldman.
108s.Mr. Goldman has retained Francisco M. Lépez-Romo, Esq. to bring this
action and has agreed to pay reasonable attorneys’ fees for services
rendered.
WHEREFORE, Mr. Goldman demands judgment in his favor and against
Mr. Arias, Mrs. Beale and their conjugal partnership and McConnell Valdés and
Sompo International and/or Endurance American Specialty Insurance Company
and/or Defendant, AIG Insurance Company-Puerto Rico, to cover the damages
that were suffered by Mr. Goldman as the result of McConnell Valdés’ and Mr.
Arias’ breach of their respective contractual obligations and duties of care,
and/or as the result of McConnell Valdés’ and Mr. Arias’ joint fault and/or
vicarious negligence and for the financial damages suffered by Mr. Goldman, as
well as for Mr. Goldman’s emotional damages and distress, with interest, costs

and such other relief this Court deems just and proper.

page 35 of 51
Alan Goldman v. McConnell Valdés, LLC, et al / 24cv01136 / Corrected Verified Second Amended Complaint

COUNT IV - CAUSE OF ACTION AGAINST MCCONNELL VALDES, VICARIOUS
LIABILITY UNDER ARTICLE 1540 OF THE PUERTO RICO CIVIL CODE

109.Plaintiff re-alleges the allegations made in paragraphs 1 through 108,
and any subsequent allegations, as if fully stated herein.

110.Article 1540 of the Puerto Rico Civil Code of 2020 defines vicarious
liability.

111.The courts in Puerto Rico extend vicarious liability for any professional
malpractice, in situations where a client seeks professional services
directly from any law firm, either as an employer or as partnership,
such as McConnell Valdés, and the legal entity provides the services of
one of its own lawyers, whether said lawyer is an employee or is a
partner in the law firm.

112. Regardless of the lawyer’s employment relationship with the law firm.
This vicarious liability has been amply discussed in several medical

malpractice cases, such as in the case of Ramirez vs. Corporaci6n del

Centro Vascular de Puerto Rico, 32 F. Supp. 3d 83, 90(2014).

113.The breach of their legal duty to provide competent legal services is the

real cause of Mr. Goldman’s substantial economic losses, in addition to

page 36 of 51
Alan Goldman v. McConnell Valdés, LLC, et al / 24cv01136 / Corrected Verified Second Amended Complaint

also having caused Mr. Goldman’s significant, emotional, mental
damages.
114.McConnell Valdés is liable for the negligent acts and/or the negligent
omissions incurred by any of its employees and/or its agents, relating
to their client, Mr. Goldman. This liability derives from the “respondeat
superior” doctrine previously established under Article 1803 of the
Puerto Rico Civil Code (1930) and under Article 1540 of the Civil Code
of Puerto Rico (2020).
11s.Mr. Arias’ and McConnell Valdés’ acts and/or omissions are the
proximate cause of the damage being suffered by Mr. Goldman.
116.All conditions precedent to the filing of this action have been complied
with, waived, excused, or otherwise met by Mr. Goldman.
117.Mr. Goldman has retained Francisco M. Lépez-Romo, Esq. to bring this
action and has agreed to pay reasonable attorneys’ fees for services
rendered.
WHEREFORE, Mr. Goldman demands judgment in his favor and against Mr.
Arias, Mrs. Beale and their conjugal partnership and McConnell Valdés and
Sompo International and/or Endurance American Specialty Insurance Company

and/or Defendant, AIG Insurance Company-Puerto Rico, to cover the damages

page 37 of 51
Alan Goldman v. McConnell Valdés, LLC, et al / 24cv01136 / Corrected Verified Second Amended Complaint

that were suffered by Mr. Goldman as the result of McConnell Valdés’ and Mr.
Arias’ breach of their respective contractual obligations and duties of care,
and/or as the result of McConnell Valdés’ and Mr. Arias’ joint fault and/or
vicarious negligence and for the financial damages suffered by Mr. Goldman, as
well as for Mr. Goldman’s emotional damages and distress, with interest, costs,
and such other relief this Court deems just and proper.
COUNT V - FAILURE TO REPORT MALPRACTICE
118s.Mr. Goldman re-alleges the allegations made in paragraphs 1 through
117 as if fully stated herein.

119.Lawyers, like all professionals, make mistakes. They fail to conduct
appropriate factual investigations, draft inadequate documents but fail
to disclose them to their clients.

120.Specifically, clients should be able to assert an independent breach of
fiduciary duty claim seeking equitable remedies, including fee
forfeiture, based on the lawyer’s failure to self-report his error.

121.This action asserts two principal claims-one for breach of contract for

incurring professional negligence, and a second for breach of fiduciary

duty.

page 38 of 51
Alan Goldman v. McConnell Valdés, LLC, et al / 24cv01136 / Corrected Verified Second Amended Complaint

122.The lawyer, Defendant Arias breached his duty of care to a client, and
breached the fiduciary duty that arises when lawyers have violated their
fiduciary duties of loyalty and communication to a client.

123.A client should be able to assert a breach of fiduciary duty claim
seeking fee forfeiture when the client’s lawyers incurred in failure to
self-report malpractice, and such act constitutes a breach of their
contractual obligations, regardless of how the cause is characterized, it
is essentially a breach of contract.

124.Plaintiff Goldman should be able to recover certain equitable remedies-
principally fee forfeiture-even in the absence of proof that the fiduciary
breach gave rise to damages.

125.Thus, when a lawyer fails to report his own malpractice, clients should
be able to assert an independent breach of fiduciary duty claim seeking
equitable remedies, including fee forfeiture, based on that failure.

126.Defendant, Arias’ failure to keep his client reasonably informed about
the status of the matter and explain a matter to the extent reasonably
necessary to permit the client to make informed decisions regarding the
representation. This duty to inform it surely must include a
requirement that a lawyer inform his client when the client may have a
substantial malpractice claim against the lawyer, since this information

is necessary to permit the client to make informed decisions regarding

page 39 of 51
Alan Goldman v. McConnell Valdés, LLC, et al / 24cv01136 / Corrected Verified Second Amended Complaint
the representation. Those decisions include (1) whether the client has
a viable malpractice claim arising out of the representation and, if so,
whether to pursue it now or later; and (2) whether to have the lawyer
continue to represent the client in the current matter. In this situation,
where the interests of the attorney and client may differ substantially,
a high degree of disclosure is necessary.

127,.MODEL RULES OF PROF’L CONDUCT r. 1.4 (AM. BAR ASS’N 2013);
see also RESTATEMENT (THIRD) OF LAW GOVERNING LAWYERS § 20
(AM. LAW INST. 2000) (“(1) A lawyer must keep a client reasonably
informed about the matter and must consult with a client to a
reasonable extent concerning decisions to be made by the lawyer... (2)
A lawyer must promptly comply with a client’s reasonable requests for
information. (3) A lawyer must notify a client of decisions to be made
by the client . . . and must explain a matter to the extent reasonably
necessary to permit the client to make informed decisions regarding the
representation.”) Since “the attorney is under a duty to disclose any
material matters bearing upon the representation and must impart to
the client any information which affects the client’s interests”).

128.This conflict is imputed to Defendant McConnell Valdés, LLC’s entire
law firm. Once a lawyer’s conduct has given rise to a substantial

malpractice claim by his client, his personal interests are adverse to

page 40 of 51
Alan Goldman v. McConnell Valdés, LLC, et al / 24cv01136 / Corrected Verified Second Amended Complaint
their client’s and the lawyer’s law firm also incurs liability under the
facts that are alleged in this amended complaint.

129.Rather, the conflicted lawyer becomes fixated on vindicating his or his
firm’s own position instead of acting in the best interests of the client.

130.In short, a lawyer who fails to disclose his malpractice to his client is
subject to discipline for violating Rules 1.4 and 1.7 of the Model Rules
of Professional Conduct.

131.In addition, the lawyer’s failure to disclose his own malpractice may
also violate Rule 8.4(c)’s prohibition on conduct involving, among other
things, “dishonesty” and “deceit.” MODEL RULES OF PROF’L
CONDUCT r. 8.4(c) that lawyers must “reveal all information that a
reasonable client would attach importance to in determining the
objectives of the representation...but if the mistake “has consequences
that materially affect the client’s matter, the fact of the mistake
becomes material, and must be disclosed to the client.”

132.Applying this understanding of materiality, the self-reporting duty
should arise “when the error is one that a reasonable client would find
significant in making decisions about (1) the lawyer-client relationship
and (2) the continued representation by the lawyer or law firm.” As

applied to the self-reporting duty, materiality comes down to primarily

page 41 of 51
Alan Goldman v. McConnell Valdés, LLC, et al / 24cv01136 / Corrected Verified Second Amended Complaint
two things: how bad was the mistake and how much harm did it
caused.

133.As a direct and proximate result of the joint fault and/or negligence of
Mr. Arias and McConnell Valdés, Mr. Goldman suffered emotional
damages, resulting in mental pain and suffering, Mr. Goldman has
suffered significant financial losses, including his payment in the sum
of $195,893.90 to the law firm of McConnell Valdés, for the faulty or
negligent services that Mr. Goldman received from McConnell Valdés,
during the unnecessary, unsuccessful litigation that resulted from
McConnell Valdés’ wrong legal advice regarding Mr. Goldman’s sale of
his real estate property located in Dorado, Puerto Rico.
134.All conditions precedent to the filing of this action have been complied
with, waived, excused, or otherwise met by Mr. Goldman.
135.Mr. Goldman has retained Francisco M. Lépez-Romo, Esq. to bring this
action and has agreed to pay reasonable attorneys’ fees for services
rendered.
WHEREFORE, Mr. Goldman demands judgment in his favor and against
Defendants McConnell Valdés and Mr. Arias for damages, interest, costs, and

such other relief this Court deems just and proper.

page 42 of 51
Alan Goldman v. McConnell Valdés, LLC, et al / 24cv01136 / Corrected Verified Second Amended Complaint

COUNT VI - UNDER THE PUERTO RICO INSURANCE CODE

136.Mr. Goldman re-alleges the allegations made in paragraphs 1 through
135, and any subsequent allegations as if fully stated herein.

137.Pursuant to the Puerto Rico Insurance Code a casualty or liability
insurance carrier is independently liable in a direct action from the Mr.
Goldman, in an action against the insured, and when joint complaint
is filed against the insurer and the insured; for any negligence, fault or
condition insured against, up to the merits of liability of the insurance
contract.

138.As a direct and proximate result of the joint fault and/or negligence of
Mr. Arias and McConnell Valdés, Mr. Goldman suffered emotional
damages, resulting in mental pain and suffering, Mr. Goldman has
suffered significant financial losses, including his payment in the sum
of $195,893.90 to the law firm of McConnell Valdés, for the faulty or
negligent services that Mr. Goldman received from McConnell Valdés,
during the unnecessary, unsuccessful litigation that resulted from
McConnell Valdés’ wrong legal advice regarding Mr. Goldman’s sale of

his real estate property located in Dorado, Puerto Rico.

page 43 of 51
Alan Goldman v. McConnell Valdés, LLC, et al / 24cv01136 / Corrected Verified Second Amended Complaint

139.All conditions precedent to the filing of this action have been complied

with, waived, excused, or otherwise met by Mr. Goldman.

140.Mr. Goldman has retained Francisco M. Lépez-Romo, Esq. to bring this

action and has agreed to pay reasonable attorneys’ fees for services
rendered.

WHEREFORE, Mr. Goldman demands judgment in his favor and against
Defendants, Sompo International and/or Endurance American Specialty
Insurance Company and/or AIG Insurance Company-Puerto Rico, to cover the
damages that were suffered by Mr. Goldman as the result of McConnell Valdés’
and Mr. Arias’ breach of their respective contractual obligations and duties of
care, and/or as the result of McConnell Valdés’ and Mr. Arias’ joint fault and/or
vicarious negligence and for the financial damages suffered by Mr. Goldman, as
well as for Mr. Goldman’s emotional damages and distress, with interest, costs,
and such other relief this Court deems just and proper.

COUNT VII - AS TO ALL COUNTS, THE ACTUAL DAMAGES

141.Mr. Goldman re-alleges the allegations made in paragraphs 1 through
140 as if fully stated herein.

142.As a direct and proximate result of Mr. Arias’ and McConnell Valdés’

failure to comply with their legal and contractual obligations, and/or

page 44 of 51
Alan Goldman v. McConnell Valdés, LLC, et al / 24cv01136 / Corrected Verified Second Amended Complaint

as the result of Mr. Arias and McConnell Valdés’ fault and/or
negligence, Mr. Goldman suffered economic losses, and, also suffered
emotional damages such as mental pain and suffering.

143.Mr. Goldman significant financial losses include his payment of
$195,893.90 to cover the legal services of McConnell Valdés for its
faulty, negligent professional services, the sum of $212,900 in repairs
and maintenance, that were spent only as the result of Mr. Arias’ bad
advice, the sum of $153,000 that Mr. Goldman had to spend in
additional legal fees to Morell, Cartagena and Dapena, plus the sum of
$25,000 that Mr. Goldman shall be paying to his undersigned attorney
in this case.

144.Mr. Goldman was induced by McConnell Valdés and by Mr. Arias to get
involved in an unnecessary, unsuccessful litigation, that only resulted
in an adverse transaction, due to McConnell Valdés’, Mr. Arias, and Mr.
Irizarry’s, incorrect, wrong, or wrongful legal advice regarding Mr.
Goldman’s forced sale of his deceased parents’ real estate property in

Dorado Beach, Puerto Rico.

page 45 of 51
Alan Goldman v. McConnell Valdés, LLC, et al / 24cv01136 / Corrected Verified Second Amended Complaint

145.Mr. Goldman still gets up every single day feeling extremely anxious
due to his constant regret of having listened to Mr. Arias and McConnell
Valdés’ incorrect, wrong, or wrongful and inadequate legal advice.

146.As the result thereof, Mr. Goldman constantly worries about his present
financial situation and about his own uncertain financial future.

147.Mr. Goldman claims that Mr. Goldman is entitled to recover those
financial losses that were incurred by him after retaining Mr. Arias and
McConnell Valdés’ inadequate legal services, and the future loss of
income that Mr. Goldman has been unable to generate, as the result of
having to unnecessarily spend over $370,000 in legal fees, plus
$212,900 that were spent in repairs and maintenance services on the
real estate property, all because of incorrect, wrong, or wrongful legal
advice.

148.Since at least June 8, 2021, Mr. Arias and McConnell Valdés insisted
that the state of the applicable law in Puerto Rico was as follows:

“Team: Patricia and I just briefed Mr. Goldman on the defense
strategy moving forward mainly supported by careful review
of both the option agreement and the draft escrow
agreement... the plaintiff Teal Peak sued because it allegedly
validly exercised its right to purchase under the option
agreement, the case was ready to close but the seller refused to
close and therefore it seeks specific performance. As per the
amended complaint Teal Peak in addition to specific performance

page 46 of 51
Alan Goldman v. McConnell Valdés, LLC, et al / 24cv01136 / Corrected Verified Second Amended Complaint

seeks damages based on its speculation that had it purchased
the property in December 2020 it would have been ready to be
exploited as a rental property by April 2021 for at least $35,000
a month or sold for over $8,000,000.

On Thursday June 3rd we offered counsel for Teal Peak the
return of the $800,000 deposit plus reimbursement of all true
out of pocket expenses to make Teal Peak whole and part ways...

Moving forward our litigation defense and counterclaim will be
based on the following talking points:

Fifth, even if the buyer where to show by a preponderance of the
evidence that the case was ready to close and it was the seller’s
fault, the only remedy it is entitled under the option
agreement is the return of the deposit AND (not “or”) any
other equitable remedies under the law. That is not specific
performance. Specific performance is not a remedy available
to the buyer. End of discussion.

Furthermore, even if there was seller liability, which we
dispute, all damages claims are not only illegal, they are all
pure speculation.

The lawsuit has been filed under the illegal premise that the
buyer can compel the seller to close on the sale. Buyer is wrong,
seller can walk away and he need only return the cash deposit
and pay real expenses. ...

4. We can petition the court for immediate mediation to settle
the remainder of what the buyer is entitled to which is “equitable
remedies” in our view, reimbursement of their out-of-pocket
expenses and attorney’s fees.

dD. Should mediation fail, at the earliest available opportunity Mr.
Goldman shall file a motion for summary judgment since the only
remaining issue to be decided by the court is a legal issue which
need not go to a jury.” Please, see, Exhibit 1.

page 47 of 51
Alan Goldman v. McConnell Valdés, LLC, et al / 24cv01136 / Corrected Verified Second Amended Complaint

149.This incorrect, wrong, or wrongful advice constitutes professional
malpractice. Mr. Goldman followed said incorrect, wrong, or wrongful
advice. From that moment on, Mr. Goldman’s lacked informed consent
as to whether continue to litigate, or not continue to litigate said case.

150.Mr. Goldman unnecessarily suffered throughout those last two years,
and respectfully avers that he is entitled to be compensated by Mr.
Arias and McConnell Valdés and by John Doe, Mary Doe and/or by
Sompo International and/or Endurance American Specialty Insurance
Company and/or AIG Insurance Company-Puerto Rico, to cover the
damages that were suffered by Mr. Goldman as the result of McConnell
Valdés’ and Mr. Arias’ breach of their respective contractual obligations
and duties of care, and/or as the result of McConnell Valdés’ and Mr.
Arias’ joint fault and/or vicarious negligence and for the financial
damages suffered by Mr. Goldman, as well as for Mr. Goldman’s
emotional damages and distress, with interest, costs, and such other
relief this Court deems just and proper, in an amount of not less than
Six Million Dollars ($6,000,000).

151.Mr. Goldman respectfully demands trial by jury on Counts I through

VII.

page 48 of 51
Alan Goldman v. McConnell Valdés, LLC, et al / 24cv01136 / Corrected Verified Second Amended Complaint

WHEREFORE, Plaintiff, Alan Goldman requests that Judgment be granted in
his favor, and against Defendants, Antonio A. Arias-Larcada, his wife Mrs. Maria
Beale and their conjugal partnership; McConnell Valdés, LLC; John Doe, Mary
Doe, and/or against Sompo International and/or Endurance American Specialty
Insurance Company and/or AIG Insurance Company-Puerto Rico, to cover the
damages that were suffered by Mr. Goldman as the result of McConnell Valdés’
and Mr. Arias’ breach of their contractual obligations and duties of care, and/or
as the result of McConnell Valdés’ and Mr. Arias’ joint fault and/or vicarious
negligence, for the financial damages suffered by Mr. Goldman, as well as for Mr.
Goldman’s emotional damages and distress, with interest, costs, and such other
relief this Court deems just and proper, jointly and severally, as follows:

(a) In the sum of Six Million dollars ($6,000,000.00);
(b) Awarding costs, disbursements, and attorney’s fees to Plaintiff; and

(c) Such further relief as this Court may deem to be just and proper.

page 49 of 51
Alan Goldman v, McConnell Valdés, LLC, et al ¢ 24ev01 198 / Corrected Verifitd Seoond Amended Complaint
VERIFICATION
1, ALAN GOLDMAN, of legal age, single, resident of Montpelier, Vermont,
hereby state under penalty of perjury that:

1.1 have read the foregoing Corrected Verified Second Amended
Complaint.

2. The factual assertions in the Corrected Verified Second Amended
Complaint are true and correct to the best of my knowledge,
information, and belief and/or pursuant to documents in) my
possession and my personal involvement in the facts of this case.

Executed in Montpeller, Vattiont, this 13 Gay of August 2024,

Spas

ALAN GOLDMAN

page 80 of 61
Alan Goldman v. McConnell Valdés, LLC, et al / 24cv01136 / Corrected Verified Second Amended Complaint

RESPECTFULLY SUBMITTED.
In Coral Gables, Florida on this 13 day of August 2024.

CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on this 13 day of August 2024, I electronically
filed the foregoing with the Clerk of the Court using the CM/ECF system which

will send notification of such filing to all the counsel of record.

$/Francisco M. Lépez-Romo
FRANCISCO M. LOPEZ-ROMO
USDC-PR NO. 118314

PO Box 331823
Coconut Grove, Florida 33233
Telephone: 305-772-5577
Email: lopezromo@gmail.com

page 51 of 51
